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     In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                      No. 15-1024V
                                   Filed: July 24, 2017

* * * * * * * * * * * * *                    *       Special Master Sanders
CORNELIOUS PRYSOCK,                          *
                                             *       Attorney’s Fees and Costs; Adjusted Hourly
               Petitioner,                    *      Rates.
                                              *
v.                                            *
                                              *
SECRETARY OF HEALTH                           *
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *
Simina Vourlis, Law Offices of Simina Vourlis, Columbus, OH, for Petitioner.
Darryl Wishard, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION1

         On September 14, 2015, Cornelious Prysock (“Petitioner”) filed a petition for
compensation pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§
300aa-1 to -34 (2012). Petitioner alleged that as a result of an influenza (“flu”) vaccine
administered on October 22, 2012, he suffered from Guillain-Barre Syndrome (“GBS”). Petition,
filed Sept. 14, 2015. On March 28, 2017, the undersigned issued a decision pursuant to the parties’
joint stipulation. Decision, ECF No. 28.

       Petitioner filed a motion for attorney’s fees and costs on June 1, 2017. Petitioner requested
attorney’s fees in the amount of $71,613 and attorney’s costs in the amount of $24,498.14. Pet’r’s


1
 This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act,” “the Act,” or “the Program”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
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Mot. Att’y’s Fees and Costs at 2, ECF No. 33. In compliance with General Order #9, Petitioner
filed a signed statement indicating Petitioner incurred no out-of-pocket expenses. Pet’r’s Ex. 24,
ECF No. 33-9. Respondent indicated that “[t]o the extent the Special Master is treating
[P]etitioner’s request for attorneys’ fees and costs as a motion that requires a response from
[R]espondent . . . Respondent is satisfied the statutory requirements for an award of attorneys’ fees
and costs are met in this case.” Resp’t’s Resp. at 2, filed June 2, 2017. Respondent recommended
that the undersigned exercise her discretion and determine a reasonable award for attorney’s fees
and costs. Id. at 3. Petitioner did not file a reply thereafter.

        The matter is now ripe for consideration.

   I.      Reasonable Attorney’s Fees and Costs

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. § 15(e). The
Federal Circuit has approved the lodestar approach to determine reasonable attorney’s fees and
costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). This is a two-step process. Id. First, a court determines an “initial estimate . . . by
‘multiplying the numbers of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second, the court
may make an upward or downward departure from the initial calculation of the fee award based
on specific findings. Id. at 1348.

        It is “well within the special master’s discretion” to determine the reasonableness of fees.
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521-22 (Fed. Cir. 1993); see also Hines
v. Sec’y of Health & Human Servs., 22 Cl Ct. 750, 753 (1991) (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorney’s fees and
costs.”). Applications for attorney’s fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316-18 (2008).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum, 465 U.S. at 895. The “prevailing market rate” is akin to the rate
“in the community for similar services by lawyers of reasonably comparable skill, experience and
reputation.” Id. at 895, n.11. The petitioner bears the burden of providing adequate evidence to
prove that the requested hourly rate is reasonable. Id.

        In Avera, the Federal Circuit determined that the forum of the Vaccine Act is Washington,
D.C. 515 F.3d at 1348. The Federal Circuit also decided that the forum rate for attorney’s fees
should generally apply in Program cases. Id. However, it created an exception pursuant to Davis
County: where most of an attorney’s work is performed outside of the forum and there is a “very
significant difference” between the forum rate and the attorney’s lower local rate, a court should
calculate fees under the local rate. Id. at 1349. A court must first determine the forum rate, then
determine the local rate, and finally determine whether a “very significant difference” exists
between them. Davis Cty., 169 F.3d at 758.

           a. Hourly Rates

                                                 2
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        Counsel’s work in this case was performed in Columbus, Ohio, where the local rates are
within the forum rate categories found reasonable in McCulloch. McCulloch v. Sec’y of Health &
Human Servs., No. 09-293V, 2015 WL 5634323 (Fed. Cl. Spec. Mstr. Sept. 1, 2015). Therefore,
forum rate ranges will apply to the attorney and paralegal rates. See also Jones v. Sec’y of Health
& Human Servs., No. 13-279V, 2016 WL 7233938, at *5 (Fed. Cl. Spec. Mstr. Nov. 18, 2016);
Forde v. Sec’y of Health & Human Servs., No. 15-185V, 2016 WL 7670920, at *3 (Fed. Cl. Spec.
Mstr. Dec. 16, 2016).

        In McCulloch, Special Master Gowen determined the reasonable forum rate ranges for
attorneys with varying years of experience. 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept.
1, 2015), motion for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015).
Pursuant to McCulloch, a forum attorney with more than 20 years of experience may be awarded
$350 to $425 per hour. Id. An attorney with less than four years of experience, on the other hand,
has a reasonable hourly rate between $150 and $225. Id.

        In the instant case, attorney Simina Vourlis requests hourly rates of $400 for work
performed from 2014 to 2015; $415 for 2016; and $424 for 2017. Pet’r’s Ex. 17 at 4, ECF No.
33-2. In considering Ms. Vourlis’s skill, over 26 years of experience, quality of work, and
reputation, the undersigned finds that the requested hourly rates are appropriate. Ms. Vourlis’s
work performed from 2014 to 2017 would fall within the $358 to $424 per hour range, as reflected
in the 2017 Office of Special Masters’ Attorneys’ Forum Hourly Rate Fee Schedule. 3 The
requested rates are within this acceptable range and are consistent with past decisions from other
special masters. See Forde v. Sec’y of Health & Human Servs., No. 15-185V, 2016 WL 7670920,
at *3 (Fed. Cl. Spec. Mstr. Dec. 16, 2016); Nottage v. Sec’y of Health & Human Servs., No. 15-
1177V, 2016 WL 4523814 (Fed. Cl. Spec. Mstr. July 6, 2016).

        The undersigned finds it necessary, however, to adjust the 2016-2017 paralegal rate for
Simina Vourlis. Pet’r’s Ex. 17 at 4. Ms. Vourlis’s requested rate of $148 for paralegal work
performed from 2016 to 2017 is inconsistent with past decisions from other special masters. Forde
v. Sec’y of Health & Human Servs., No. 15-185V, 2016 WL 7670920, at *3 (Fed. Cl. Spec. Mstr.
Dec. 16, 2016); Nottage v. Sec’y of Health & Human Servs., No. 15-1177V, 2016 WL 4523814
(Fed. Cl. Spec. Mstr. July 6, 2016). The undersigned finds that without a reasoned explanation for
an increase in paralegal hourly rates from $135 (2014-2015) to $148 (2016-2017), the increased
rate cannot be awarded. Thus, Ms. Vourlis’s total paralegal fee award is reduced by $146.90.

           b. Hours Expended




3
 The 2017 Fee Schedule can be accessed at:
http://www.uscfc.uscourts.gov/sites/default/files/Attorneys-Forum-Rate-Fee-Schedule-2017.pdf.
The hourly rates contained in the 2017 Fee Schedule are updated from the decision McCulloch v.
Sec’y of Health & Human Servs., No. 09-293V, 2015 WL 5634323 (Fed. Cl. Spec. Mstr. Sept. 1,
2015).


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         Petitioner requests compensation for 161.8 hours of work performed by Ms. Vourlis at
attorney rates and 36.5 hours of work performed by Ms. Vourlis at paralegal rates. On review of
the billing record, the undersigned finds the number of hours expended reasonable.

             c. Costs

        Like attorney’s fees, a request for reimbursement of costs must be reasonable. Perreira v.
Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests $24,498.14
in attorney’s costs. The costs are associated with medical record retrieval, life care planner
expenses, economist expenses, postage, copies, and a filing fee. The undersigned finds them to be
reasonable and awards them in full.

    II.      Conclusion

       Based on all of the above, the undersigned finds that Petitioner is entitled to the following
award of reasonable attorney’s fees and costs:

          Attorney’s Fees Requested                                         $71,613.00
          (Reduction to Paralegal’s Hourly Rate in 2016)                    -$109.20
          (Reduction to Paralegal’s Hourly Rate in 2017)                    -$37.70
          Attorney’s Fees Awarded                                           $71,466.10

          Attorney’s Costs Awarded                                          $24,498.14

          Total Attorney’s Fees and Costs Awarded                           $95,964.24


       The undersigned has reviewed Petitioner’s counsel’s detailed records of time and expenses
incurred in this case, and they are reasonable with the above reductions. In accordance with the
Vaccine Act, 42 U.S.C. § 300aa-15(e) (2012), the undersigned finds that Petitioner is entitled to
attorney’s fees and costs. Accordingly, the undersigned hereby awards the amount of
$95,964.24,4 in the form of a check made payable jointly to Petitioner and Petitioner’s
counsel, Simina Vourlis, of Law Offices of Simina Vourlis. In the absence of a motion for
review filed pursuant to RCFC Appendix B, the clerk of the court shall enter judgment in
accordance herewith.5

          IT IS SO ORDERED.


4
  This amount is intended to cover all legal expenses incurred in this matter. This award
encompasses all charges by the attorney against a client, “advanced costs” as well as fees for
legal services rendered. Furthermore, § 15(e)(3) prevents an attorney from charging or
collecting fees (including costs) that would be in addition to the amount awarded herein. See
generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir. 1991).

5
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to
seek review. Vaccine Rule 11(a).
                                                 4
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                           /s/Herbrina D. Sanders
                           Herbrina D. Sanders
                           Special Master




                              5
